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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION


BRIAN HUDDLESTON,

          Plaintiff,

vs.
                                                      Case No. 4:20-cv-447-ALM
FEDERAL BUREAU OF
INVESTIGATION and UNITED STATES
DEPARTMENT OF JUSTICE

         Defendant


            UNOPPOSED MOTION FOR LEAVE TO EXCEED PAGE LIMIT

       NOW COMES Brian Huddleston, the Plaintiff, moving the Court to grant him leave to

file a sur-reply to Defendants’ Motion for Summary Judgment Regarding FOIA Exemption 7(a)

(hereinafter “MSJ”) (Dkt. #148) in excess of ten pages. The Plaintiff seeks leave to file a

twelve-page sur-reply, which will be filed immediately hereafter. Plaintiff’s Counsel conferred

with Defendants’ Counsel, and the Defendants do not oppose this request.

                                             Respectfully submitted,

                                             /s/ Ty Clevenger
                                             Ty Clevenger
                                             Texas Bar No. 24034380
                                             212 S. Oxford Street #7D
                                             Brooklyn, New York 11217
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                                             Counsel for Plaintiff Brian Huddleston




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                                   Certificate of Conference

        On April 4, 2024, I conferred with Asst. U.S. Attorney James Gillingham via email, and
he indicated that the Defendants will not oppose this motion.

                                            /s/ Ty Clevenger
                                            Ty Clevenger




                                     Certificate of Service

       On April 4, 2024, I filed a copy of this request with t he Court’s ECF system, which
should result in automatic notification via email to Asst. U.S. Attorney James Gillingham,
Counsel for the Defendants, at james.gillingham@usdoj.gov.

                                            /s/ Ty Clevenger
                                            Ty Clevenger




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